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                        IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

FORT GORDON HOUSING, LLC d/b/a                )
BALFOUR BEATTY COMMUNITIES,                   )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )          CV 119-218
                                              )
RILEY JAMES,                                  )
                                              )
               Defendant.                     )
                                         _________

                                         ORDER
                                         _________

       On November 6, 2020, Plaintiff filed a motion to voluntarily dismiss this case without

prejudice because the parties have agreed to a payment plan. (Doc. no. 6.) For good cause

shown, the Court GRANTS the motion, (Id.), and DIRECTS the Clerk to DISMISS this civil

action without prejudice and terminate all pending motions and deadlines.

       SO ORDERED this 9th day of November, 2020, at Augusta, Georgia.
